                                                                        Case
                                                                         Case2:17-cr-00180-JAD-NJK
                                                                               2:17-cr-00180-JAD-PAL Document
                                                                                                     Document326  Filed04/26/18
                                                                                                              325 Filed 04/27/18 Page
                                                                                                                                  Page  1 of
                                                                                                                                      1 of 22


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                                                                    6     Attorneys for Casey Walters, Jr.
                                                                    7                                  UNITED STATES DISTRICT COURT
                                                                    8                                        DISTRICT OF NEVADA
                                                                    9     UNITED STATES OF AMERICA,                            CASE NO.: 2:17-cr-00180-JAD-PAL
                                                                   10                    Plaintiff,                            STIPULATION TO TEMPORARY
                                                                                                                               MODIFICATION OF CONDITIONS OF
                                                                   11            vs.                                           PRETRIAL RELEASE (SUPPLEMENTAL
                                                                                                                               REQUEST)
                                                                   12     CASEY WALTERS JR. et al.,
                          1070 W. HORIZON RIDGE PKWY., SUITE 202
KATHLEEN BLISS LAW PLLC




                                                                                                                               (EXPEDITED RELIEF REQUESTED)
                                                                   13                    Defendants.
                                HENDERSON, NEVADA 89012




                                                                   14
                                    TEL702.793.4202




                                                                                 The United States, by Frank Coumou, Assistant United States Attorney, and the
                                                                   15
                                                                          Defendant Casey Walters, Jr., by Kathleen Bliss, Esq., hereby stipulated to a modification of Mr.
                                                                   16
                                                                          Walters pretrial conditions, which would allow him to train and work for a week in Fort
                                                                   17
                                                                          Lauderdale, Florida, beginning on May 1, 2018, and continuing through May 8, 20018. Mr.
                                                                   18
                                                                          Walters, as an employee of KTM Mechanical, would be part of a team hired to conduct work at a
                                                                   19
                                                                          refinery in Florida, Zamel Industry. This modification would allow Mr. Walter’s to depart
                                                                   20
                                                                          Beaumont, Texas, on Tuesday, May 1, 2018, and travel to Fort Lauderdale, Florida, by car with
                                                                   21
                                                                          his co-workers in a KTM company van. Defendant Walters would return to Beaumont, Texas,
                                                                   22
                                                                          on Tuesday, May 8, 2018 or sooner, depending on the work schedule.
                                                                   23
                                                                                 On April 25, 2018, this Court approved the modification for Mr. Walters to attend his
                                                                   24
                                                                          grandmother’s funeral in Fort Wayne, Indiana. ECF No. 324. Upon returning to Texas with his
                                                                   25
                                                                          father, Mr. Walters would then proceed to Fort Lauderdale the following day with KTM. This
                                                                   26
                                                                          may result in a sooner return from Fort Wayne, Indiana.
                                                                   27

                                                                   28            Dated this 26th day of April 2018.

                                                                                                                      Page 1 of 2
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                                                                         Case2:17-cr-00180-JAD-NJK
                                                                               2:17-cr-00180-JAD-PAL Document
                                                                                                     Document326  Filed04/26/18
                                                                                                              325 Filed 04/27/18 Page
                                                                                                                                  Page  2 of
                                                                                                                                      2 of 22


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                                                                          /s/ Kathleen Bliss_____________                    /s/Frank Coumou________
                                                                    2     Kathleen Bliss, Esq.                               Frank Coumou
                                                                          Attorney for Casey Walters                         Attorney for the United States
                                                                    3

                                                                    4

                                                                    5
                                                                                Based upon the Stipulation of counsel, and with good cause appearing. IT IS SO
                                                                    6
                                                                          ORDERED.
                                                                    7

                                                                    8
                                                                          DATED:    April 27, 2018
                                                                    9

                                                                   10           ___________________________________
                                                                   11           UNITED STATES MAGISTRATE JUDGE

                                                                   12
                          1070 W. HORIZON RIDGE PKWY., SUITE 202
KATHLEEN BLISS LAW PLLC




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                                HENDERSON, NEVADA 89012




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